Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 1 of 6

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Al‘tomeysfor Defendanr
Prz`ncipal Life Insurance Company

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

 

DlANE PAGE,
Plaintiff,

..VS_

PRINCIPAL LIFE lNSURANCE COMPANY,

an loWa corporation,

Defendant.

Case No.

 

DEFENDANT’S NOTICE OF
REMOVAL OF CAUSE

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Defendant Principal Life Insurance Company (“Principal Life”), by its undersigned
eounsel, pursuant to 28 U.S,C. §§1441, 1446 and the Local Rules of the United States District
Court for the District of Idaho, notifies this l-lonorable Court that the above-entitled cause has been

removed from the District Court for the Fourth J udicial District, Ada County, ldaho, and in support

of said notice, states as folloWS:

The Summons and Complaint in this civil action filed on or about October 29, 2015 in the

BACKGROUND

DEFENDANT’S NOTICE OF REMOVAL OF CAUSE - l

Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 2 of 6

District Court for the Fourth J udicial District, Ada County, State of Idaho, captioned Dic;me Pczge
v. Principal Lijia Insurance Company, Case No. CV OC 1518737, Was served on November 18,
2015 onto Principal Life through Corporation Service Company, its registered agent for purposes
of service of process in ldaho. ln compliance With 28 U.S.C. §l446(b), Principal Life files this
Notice of Removal With this Court vvithin thirty (30) days after receipt of a copy of the initial
pleading setting forth the claims for relief upon vvhich this action or proceeding is based and Within
thirty (30) days after service of Surnmons and Complaint on the first served and only defendant
Principal Life. (Copies of the Summons and Complaint served upon Principal Life are attached
hereto as Exhibit 1). Principal Life is the only defendant in this matter and no consent to removal
is required The Complaint is the only pleading that has been received by Principal Life and that
has been filed With the court at this time in this matter.

Plaintiff Diane Page’s (“Plaintiff”) Complaint sets forth a claim for breach of contract,
seeking payment of long term disability benefits, underwritten by Principal Life pursuant to the
terms of group long term disability insurance policy H48958 (“Policy”) issued to Plaintiff’s
employer, the State of ldaho (EX. l at M 6, 7) Plaintiff further pleads a claim for breach of the
covenant of good faith and fair dealing, seeking compensatory damages, economic and non-
economic, and a claim for bad faith, seeking extra-contractual damages, economic and non-
economic, as vvell as attorneys’ fees pursuant to ldaho Code §41-1839. (EX. l at 1111 42, 43, 48, 49,
prayer for relief) Principal Life denies that Plaintiff is entitled to any of the relief sought in her
Complaint.

GROUNDS FOR REMOVAL

A. Diversitv Jurisdiction, 29 U.S.C. ii 1332

This action may be removed to this Court by Principal Life pursuant to the provisions of

DEFENDANT’S NOTlCE OF REMOVAL OF CAUSE - 2

Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 3 of 6

Title 28 of the United States Code, Section 1441(b), in that it is a civil action between citizens of
different states and the matter in controversy exceeds the sum of $75,000, exclusive of interest and
costs, set forth more fully below.
1. Diversity of Citizenship

Principal Life is informed and believes and on that basis alleges that Plaintiff is, and at all
relevant times vvas, a resident and citizen of the State of ldaho. Plaintiff states that she is a citizen
of the State of ldaho and a resident of Middleton, Canyon, County, ldaho. (Ex. l at 111.)

Principal Life Was at the time of the filing of this action, and still is, a citizen of the State
of lovva. lt is incorporated under the laws of the State of lowa and its principal place of business
is in Des l\/loines, loWa, as Des Moines is its corporate headquarters and Where its activities are
directedJ controlledj and coordinated Hertz Corp. v. Frz'end, 559 U.S. 77, 130 S.Ct. 1181 (2010)',
Wachovi`a Barzk v. Schmz`dt, 126 S. Ct. 941, 946 (2006) (Corporation is deemed ‘°citizen” for §1332
purposes only Where its state of incorporation and state vvhere its principal place of business are
located.); Cincinnati lns. Co. v. Eastern Atfantic fns. Co., 260 F.3d 742, 747 (7th Cir. 2001). At
no time relevant to Plaintiff’s Complaint has Principal Life had a principal place of business in
ldaho, nor Was it incorporated in ldaho.

2. .Iurisdictz°onal Amount

Plaintist Complaint alleges breach of contract, breach of the covenant of good faith and
fair dealing and bad faith. The damages at issue in this action are in excess of $75,000.00, exclusive
of interest and costs.

As of the date of filing of Plaintiff’ s Complaint (October 29, 2015), PlaintifF s unpaid back
long term disability benefits totaled approximately $9,438.00, based on a scheduled monthly

benefit of $726.00 for the period of October 1, 2014 through October 29, 2015 (the date of filing

DEFENDANT’S NOTICE OF REMOVAL OF CAUSE - 3

Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 4 of 6

of the complaint in this matter). Plaintiff’s future benefits, assuming continued eligibility through
age 70 (xx/xx/23), total approximately $67,155.00.

Additionally, given that Plaintiff also pleads a violation of the covenant of good faith and
fair dealing as well as insurance bad faith, should she be able to satisfy her burden (which Principal
Life maintains she cannot and will not), Plaintiff alleges she may be entitled to an additional award
of economic and non-economic compensatory damages as well as extra-contractual damages (such
as for emotional distress) as well as attorneys’ fees pursuant to ldaho Code §41-183 9. lt is
undisputed that ldaho law permits the recovery of non-economic, extra-contractual, future and
even punitive damages, in bad faith cases. Weinsrein v. Prudential Prop. & Cas. las Co., 149
ldaho 299 (ldaho 2010). For purposes of calculating the amount in controversy, in addition to
considering the plaintiff’ s compensatory damages, a court may, in fact, consider a potential award
of attorneys’ fees if such fees are authorized by statute Galr G/S v. JSS Scana'z`navia, 142 F.3d
1 150, 1155-56 (9th Cir. 1998); see also Missouri State Life IHS. CO. v. Jones, 290 U.S. 199, 202,
78 L. -Ed. 267, 54 S. Ct. 133 (1933). Principal Life estimates the non-economic and extra-
contractual damages to likely be in excess of $75,000 by themselves - or at least adding up to
$75,000 With Plaintiff` s attorneys fees sought under ldaho Code §41-1839.

lndeed, Plaintiff calculates the amount in controversy to be $250,000, as set out in her pre-
removal settlement letter, attached hereto as Exhibit 2, which can properly be relied upon by this
court when examining whether the amount in controversy exceeds the jurisdictional minimum for
diversity jurisdiction under 28 U.S.C. §1332. See Urz`be v. Autozone, Inc., No. 04-55323, 166 Fed.
Appx. 896 (9th Cir. Jan. 3, 2006); Coha v. PerSmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002).

Accordingly, the total comprised alleged damages sought by Plaintiff in this matter exceed

the jurisdictional minimum of 875,000.00. Because the jurisdictional minimum is satisfied and

DEFENDANT’S NOTlCE OF REMOVAL OF CAUSE - 4

Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 5 of 6

the parties are of diverse citizenship, the Court has jurisdiction of this action under 28 U.S.C.
§1332. Principal Life is, therefore, entitled to remove this action to this Court pursuant to 28
U.S.C. §§1332 and 1441.

CONCLUSION

Principal Life has complied with the procedural requirements of 28 U.S.C. §1446 and the
Federal Rules of Civil Procedure that govern removal from state court. This Court has original
jurisdiction over this matter because the parties are of diverse citizenship and the amount in
controversy exceeds $75,000.00.

Notice of filing for removal will be promptly given to the State of ldaho, Ada County
District Court. Additionally, Principal Life will serve its responsive pleadings to the Complaint
within seven (7) days after filing this petition for removal, pursuant to Fed. R. Civ. P. 81(0) and
6(a), or such subsequent time as set by stipulation of the parties or order of the Court.

WHEREFORE, Defendant, Principal Life insurance Company, respectfully notified the
Court that this cause has been removed from the Ada County District Court, State of ldaho, to the
United States District Court for the District of ldaho, pursuant to the provisions of 28 U.S.C. §1446
and the Local Rules of the United States District Court for the District of ldaho.

Dated this 7th day of December, 2015.

QUANE JONES l\/IcCOLL, PLLC

By: /s/ Terrence S. lones
Terrence S. Jones, Of the Firrn
Attorneys for Defendant

DEFENDANT’S NOTICE OF REl\/[OVAL OF CAUSE - 5

Case 1:15-cV-00569-BLW Document 1 Filed 12/07/15 Page 6 of 6

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this 7th day of December, 2015, l served a true and
correct copy of the foregoing DEFENDANT’S NOTICE OF REMOVAL OF CAUSE by
delivering the same to each of the following, by the method indicated below, addressed as follows:

Michael G. Brady

Daniel R. Page

Brady Law, Chartered

St. Mary’s Crossing

2537 W. State Street, Suite 200
Boise, ID 83702

Artorneysfor Plaintijj@'

U.S. Mail, postage prepaid
Hand-Delivered

Overnight l\/Iail

Facsimile: (208) 529-9732

X] Email: radylaw@bradylawoffice.com

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/s/ Terrence S. J ones

DEFENDANT’S NOTICE OF REMOVAL OF CAUSE - 6

